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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                        :
                                                 :
v.                                               :      3:09-cr-49 (WWE)
                                                 :
RUDYARD CARDONA,                                 :

                       RULING ON DEFENDANT’S MOTION
                  FOR ADDITIONAL JUDICIAL RECOMMENDATION

       Now pending before the Court is defendant’s motion (Doc. #401) requesting that

the Court include in its judgment in defendant’s criminal case an express

recommendation for defendant’s placement in a Residential Reentry Center, or a

halfway house, for the final six months of his term of imprisonment.

       On April 2, 2009, defendant Rudyard Cardona pleaded guilty to one count of

conspiracy to possess with intent to distribute and to distribute heroin, 21 U.S.C.

§ 841(a)(1). On September 25, the Court sentenced defendant to a term of

imprisonment of one year and one day. Judgment was entered in defendant’s case on

September 29. On September 30, defendant filed the instant motion requesting that

the Court amend the judgment so as to recommend that defendant be placed in a

halfway house for the final six months of his imprisonment. The United States has

taken no position on this motion.

       Unfortunately for defendant, there is no mechanism by which the Court can

amend a criminal judgment absent some clerical error or technical error. Rule 35(a) of

the Federal Rules of Criminal Procedure provides that “[w]ithin 7 days after sentencing,

the court may correct a sentence that resulted from arithmetical, technical, or other



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clear error.” Fed. R. Crim. P. 35(a). The Court does not read this rule as allowing it to

amend the judgment to reopen issues previously resolved at the sentencing hearing.

See United States v. Kieffer, 257 Fed. Appx. 378, 379 (2d Cir. 2007). Instead, it should

apply only to correct obvious errors or mistakes that would result in the appellate court

remanding the case to the trial court for further action. See United States v.

Abreu-Cabrera, 64 F.3d 67, 72 (2d Cir. 1995). Defendant’s situation does not fit this

description.

         Similarly, Federal Rule of Criminal Procedure 36, which provides that “the court

may at any time correct a clerical error in a judgment, order, or other part of the record,

or correct an error in the record arising from oversight or omission,” does not permit this

Court to amend the judgment absent some clerical error in sentencing. See United

States v. DeMartino, 112 F.3d 75, 79 (2d Cir. 1997). There was no clerical error here.

         One court that previously faced this dilemma solved it in an alternative fashion.

And that court’s path will guide this one. Instead of amending the judgment to include

the requested recommendation that the Court believes would be appropriate and

helpful to defendant, the Court will instead make the recommendation explicit in this

ruling. See United States v. Palacios, 2007 U.S. Dist. LEXIS 65644 (S.D. Cal. July 14,

2007).




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      Therefore, for the foregoing reasons, the Court RECOMMENDS that the Bureau

of Prisons place defendant Cardona in a Residential Reentry Center, or a halfway

house, during the last six months of his sentence. The Bureau of Prisons SHALL

CONSIDER this Court’s recommendation, pursuant to 18 U.S.C. § 3621(b)(4)(B). This

conclusion serves as a partial grant of defendant’s motion.

      Dated at Bridgeport, Connecticut, this 5th day of October, 2009.


                                                 /s/
                                         Warren W. Eginton
                                         Senior United States District Judge




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